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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------                    x
 BRAULIO THORNE, ON BEHALF OF                            :   ECF CASE
 HIMSELF AND ALL OTHER PERSONS                           :
 SIMILARLY SITUATED,                                     :
                                                         :   Civil Action No.: 1:23-cv-776
                                                         :
                        Plaintiffs,
                                                         :
                                                         :   CLASS ACTION COMPLAINT
                           v.
                                                         :
                                                         :   JURY TRIAL DEMANDED
 CAPITAL MUSIC GEAR LLC,
                                                         :
                                                         :
                        Defendant.
                                                         :
 ------------------------------------                    x

                                        INTRODUCTION

       1.       Plaintiff, BRAULIO THORNE, on behalf of himself and all other persons

similarly situated, asserts the following claims against Defendant, CAPITAL MUSIC GEAR

LLC, as follows.

       2.       Plaintiff is a visually-impaired and legally blind person who requires

screen-reading software to read website content using his computer. Plaintiff uses the terms

“blind” or “visually-impaired” to refer to all people with visual impairments who meet the legal

definition of blindness in that they have a visual acuity with correction of less than or equal to 20

x 200. Some blind people who meet their definition have limited vision. Others have no vision.

       3.       In a September 25, 2018 letter to U.S. House of Representative Ted Budd, U.S.

Department of Justice Assistant Attorney General Stephen E. Boyd confirmed that public

accommodations must make the websites they own, operate, or control equally accessible to

individuals with disabilities. Assistant Attorney General Boyd’s letter provides:

       The Department [of Justice] first articulated its interpretation that the ADA applies to
       public accommodations’ websites over 20 years ago. This interpretation is consistent with
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           the ADA’s title III requirement that the goods, services, privileges, or activities provided
           by places of public accommodation be equally accessible to people with disabilities.1

           4.       Based on a 2010 U.S. Census Bureau report, approximately 8.1 million people in

the United States are visually-impaired, including 2.0 million who are blind, and according to the

American Foundation for the Blind’s 2015 report, approximately 400,000 visually-impaired

persons live in the State of New York.

           5.       Plaintiff brings his civil rights action against CAPITAL MUSIC GEAR LLC

(“Defendant” or “Capital Music”), for its failure to design, construct, maintain, and operate the

Website to be fully accessible to and independently usable by Plaintiff and other blind or

visually-impaired people. Defendant’s denial of full and equal access to the Website, and

therefore denial of its products and services offered thereby, is a violation of Plaintiff’s rights

under the Americans with Disabilities Act (“ADA”).

           6.       Because Defendant's Website, https://www.capitalmusicgear.com/ (the “Website”

or “Defendant's Website”), is not equally accessible to blind and visually-impaired consumers, it

violates the ADA. Plaintiff seeks a permanent injunction to cause a change in Defendant’s

corporate policies, practices, and procedures so that Defendant's Website will become and remain

accessible to blind and visually-impaired consumers.

           7.       By failing to make the Website available in a manner compatible with computer

screen reader programs, Defendant deprives blind and visually-impaired individuals the benefits

of   its        online   goods,   content,   and     services—all      benefits    it   affords     nondisabled




1
 See Letter from Assistant Attorney General Stephen E. Boyd, U.S. Department of Justice, to Congressman Ted
Budd, U.S. House of Representatives (Sept. 25, 2018) (available at
https://images.cutimes.com/contrib/content/uploads/documents/413/152136/adaletter.pdf) (last accessed July 13,
2020).


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individuals—thereby increasing the sense of isolation and stigma among those persons that Title

III was meant to redress.

         8.       “When Congress enacted the ADA in 1990, it intended for the ADA to keep pace

with the rapidly changing technology of our times. Since 1996, the Department of Justice has

consistently taken the position that the ADA applies to web content.” “Inaccessible web content

means that people with disabilities are denied equal access to information. An inaccessible

website can exclude people just as much as steps at an entrance to a physical location. Ensuring

web accessibility for people with disabilities is a priority for the Department of Justice. In recent

years, a multitude of services have moved online and people rely on websites like never before

for all aspects of daily living.” A website with inaccessible features can limit the ability of

people with disabilities to access a public accommodation’s goods, services, and privileges

available through that website.2 “For people with disabilities, website accessibility and other

forms of accessible ICT are necessities—not luxuries or conveniences—that foster

independence, economic self-sufficiency and active, meaningful participation in civic life.

Although the Department has clearly stated that the ADA applies to such digital spaces, the lack

of specific requirements or technical compliance standards incorporated in regulation has led to a

widespread lack of meaningful digital accessibility for people with disabilities.”3

         9.       This discrimination is particularly acute during the current COVID-19 global

pandemic. According to the Centers for Disease Control and Prevention (“CDC”), Americans

living with disabilities are at higher risk for severe illness from COVID-19 and, therefore, are


2
  Justice Department Issued New Web Accessibility Guidance Under the Americans with Disabilities Act Titled
Guidance on Web Accessibility and the ADA (This guidance describes how state and local governments and
businesses open to the public can make sure that their websites are accessible to people with disabilities as required
by the Americans with Disabilities Act (ADA). https://beta.ada.gov/web-guidance/ Published March 16, 2022.
3
   “United States Senate Committee on the Judiciary.” United States Senate Committee on the Judiciary,
https://www.judiciary.senate.gov/durbin-duckworth-letter-to-garland-re-accessible-websites. Last accessed, June 22,
2022.

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recommended to shelter in place throughout the duration of the pandemic.4 This underscores the

importance of access to online retailers, such as Defendant, for this especially vulnerable

population. The COVID-19 pandemic is particularly dangerous for disabled individuals.5

                                      JURISDICTION AND VENUE

        10.      The Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1331

and 42 U.S.C. § 12181, as Plaintiff’s claims arise under Title III of the ADA, 42 U.S.C. § 12181,

et seq., and 28 U.S.C. § 1332.

        11.      The Court has supplemental jurisdiction under 28 U.S.C. § 1367 over Plaintiff’s

New York State Human Rights Law, N.Y. Exec. Law Article 15, (“NYSHRL”) and New York

City Human Rights Law, N.Y.C. Admin. Code § 8-101 et seq., (“NYCHRL”) claims.

        12.      Venue is proper in this district under 28 U.S.C. §1391(b)(1) and (2) because

Defendant conducts and continues to conduct a substantial and significant amount of business in

this District, Defendant is subject to personal jurisdiction in this District, and a substantial

portion of the conduct complained of herein occurred in this District.

        13.      Defendant is subject to personal jurisdiction in this District. Defendant has been

and is committing the acts or omissions alleged herein in the Southern District of New York that

caused injury and violated rights the ADA prescribes to Plaintiff and to other blind and other

visually-impaired consumers. A substantial part of the acts and omissions giving rise to

4
   See Centers for Disease Control and Prevention website, Coronavirus Disease 2019 (2019), available at
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-at-higher-risk.html?CDC_AA_refVal=ht
tps%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-ncov%2Fspecific-groups%2Fhigh-risk-complications.htm
l (last accessed July 13, 2020) (“Based on currently available information and clinical expertise, older adults and
people of any age who have serious underlying medical conditions might be at higher risk for severe illness from
COVID-19.”).
5
  See The New York Times, ‘It’s Hit Our Front Door’: Homes for the Disabled See a Surge of Covid-19
(2020),                                             available                                             at
https://www.nytimes.com/2020/04/08/nyregion/coronavirus-disabilities-group-homes.html?smid=fb-nyti
mes&smtyp=cur (last accessed July 13, 2020) (“As of Monday, 1,100 of the 140,000 developmentally
disabled people monitored by the state had tested positive for the virus, state officials said. One hundred
five had died — a rate far higher than in the general population”).
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Plaintiff’s claims occurred in this District: on several separate occasions, Plaintiff has been

denied the full use and enjoyment of the facilities, goods, and services of Defendant's Website

while attempting to access the website from his home in New York County. These access barriers

that Plaintiff encountered have caused a denial of Plaintiff’s full and equal access multiple times

in the past, and now deter Plaintiff on a regular basis from visiting Defendant's Website. This

includes, Plaintiff attempting to obtain information about Defendant’s online retail merchandise.

       14.     Defendant participates in New York’s economic life by clearly performing

business over the Internet. Through the Website, Defendant entered into contracts for the sale of

its products and services with residents of New York. These online sales contracts involve, and

require, Defendant’s knowing and repeated transmission of computer files over the Internet. See

Reed v. 1-800-Flowers.com, Inc., 327 F. Supp. 3d 539 (E.D.N.Y. 2018) (exercising personal

jurisdiction over forum plaintiff’s website accessibility claims against out-of-forum website

operator); Andrews v. Blick Art Materials, LLC, 286 F. Supp. 3d 365 (E.D.N.Y. 2017); see also,

Ford Motor Co. v. Mont. Eighth Judicial Dist. Court, 592 U. S. ____ (2021) (personal

jurisdiction can be found as long as the company conducted business in the consumer’s home

state that relates in some way to the consumer’s injuries, such as engaging in other transactions

for similar products there.) South Dakota v. Wayfair, Inc., 585 U. S. ____ (2018); Godfried v.

Ford Motor Co., 2021 US Dist LEXIS 87012 [D Me May 6, 2021, No. 1:19-cv-00372-NT];

Romero v. 88 Acres Foods, Inc., 2022 US Dist LEXIS 9040 [SDNY Jan. 18, 2022, No.

20-CV-9215 (KMW)]); Sanchez v. NutCo, Inc., 2022 US Dist LEXIS 51247 [SDNY Mar. 22,

2022, No. 20-CV-10107 (JPO)]; Panarra v. HTC Corporation [WDNY April 15, 2022, No.

6:20-cv-6991(FPG-MWP), DKT. 53].




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       15.       The Court is empowered to issue a declaratory judgment under 28 U.S.C. §§ 2201

and 2202.

                                         THE PARTIES

       16.       Plaintiff, BRAULIO THORNE, at all relevant times, is a resident of New York,

New York.

       17.       Plaintiff is a blind, visually-impaired handicapped person and a member of

member of a protected class of individuals under the ADA, under 42 U.S.C. § 12102(1)-(2), and

the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., the NYSHRL and

NYCHRL.

       18.       Defendant, CAPITAL MUSIC GEAR LLC, is and was, at all relevant times

herein, a Wisconsin Corporation with its principal executive office located at 6666 Odana Rd

352, Madison, WI 53719. Defendant operates the Capital Music online retail store as well as the

Website and advertises and markets and operates in the State of New York, and throughout the

United States.

       19.       Defendant, CAPITAL MUSIC GEAR LLC, operates the Capital Music online

retail store throughout the United States. This online retail store constitutes a place of public

accommodation. Defendant's Website provides consumers with access to an array of goods,

audio products (musical instruments and audio equipment), and other products available online

for purchase and to ascertain information relating to pricing, shipping, ordering merchandise and

return and privacy policies.




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         20.      Defendant’s online retail store is a place of public accommodation within the

definition of Title III of the ADA, 42 U.S.C. § 12181(7).6 Defendant's Website is a service,

privilege, or advantage of Defendant’s online retail stores.

                                        NATURE OF ACTION

         21.      The Internet has become a significant source of information, a portal, and a tool

for conducting business, doing everyday activities such as shopping, learning, banking,

researching, as well as many other activities for sighted, blind and visually-impaired persons

alike.

         22.      In today’s tech-savvy world, blind and visually-impaired people have the ability

to access websites using keyboards in conjunction with screen access software that vocalizes the

visual information found on a computer screen or displays the content on a refreshable Braille

display. This technology is known as screen-reading software. Screen-reading software is

currently the only method a blind or visually-impaired person may independently utilize in order

to access the internet. Unless websites are designed to be read by screen-reading software, blind

and visually-impaired persons are unable to fully access websites, and the information, products,

and services contained thereon.

         23.      Blind and visually-impaired users of Windows operating system-enabled

computers and devices have several screen reading software programs available to them. Some

of these programs are available for purchase and other programs are available without the user

having to purchase the program separately. Job Access With Speech, otherwise known as

6
 [M]ultiple district courts in this circuit — including this one — have held that websites qualify as places of public
accommodation, even when they are not attached to a traditional brick-and-mortar store. See Thorne, 2019 U.S.
Dist. LEXIS 220080, 2019 WL 6916098, at *2; see also Del-Orden, 2017 U.S. Dist. LEXIS 209251, 2017 WL
6547902, at *5, 10). Jaquez v. Dermpoint, Inc., 2021 US Dist LEXIS 96067, at *7-8 [SDNY May 20, 2021, No.
20-CV-7589 (JPO)]); Chalas v. Barlean's Organic Oils, LLC, 2022 US Dist LEXIS 211816 [SDNY Nov. 22, 2022,
No. 22 Civ 04178 (CM)]; Martinez v. Gutsy LLC, 2022 US Dist LEXIS 214830 [EDNY Nov. 29, 2022, No.
22-CV-409 (NGG) (RLM)]; Slade v. Life Spectacular, Inc., 2022 US Dist LEXIS 220079 [SDNY Dec. 5, 2022, No.
22-CV-0037 (ALC)].

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“JAWS” is currently the most popular, separately purchased and downloaded screen-reading

software program available for a Windows computer.

         24.   For screen-reading software to function, the information on a website must be

capable of being rendered into text. If the website content is not capable of being rendered into

text, the blind or visually-impaired user is unable to access the same content available to sighted

users.

         25.   The international website standards organization, the World Wide Web

Consortium, known throughout the world as W3C, has published version 2.0 of the Web Content

Accessibility Guidelines (“WCAG 2.0”). WCAG 2.0 are well-established guidelines for making

websites accessible to blind and visually-impaired persons. These guidelines are universally

followed by most large business entities and government agencies to ensure their websites are

accessible.

         26.   Non-compliant      websites    pose      common   access   barriers to   blind and

visually-impaired persons. Common barriers encountered by blind and visually-impaired persons

include, but are not limited to, the following:

               a.      A text equivalent for every non-text element is not provided;

               b.      Title frames with text are not provided for identification and navigation;

               c.      Equivalent text is not provided when using scripts;

               d.      Forms with the same information and functionality as for sighted persons

are not provided;

               e.      Information about the meaning and structure of content is not conveyed by

more than the visual presentation of content;




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               f.      Text cannot be resized without assistive technology up to 200% without

losing content or functionality;

               g.      If the content enforces a time limit, the user is not able to extend, adjust or

disable it;

               h.      Web pages do not have titles that describe the topic or purpose;

               i.      The purpose of each link cannot be determined from the link text alone or

from the link text and its programmatically determined link context;

               j.      One or more keyboard operable user interface lacks a mode of operation

where the keyboard focus indicator is discernible;

               k.      The    default   human    language     of   each   web     page    cannot   be

programmatically determined;

               l.      When a component receives focus, it may initiate a change in context;

               m.      Changing the setting of a user interface component may automatically

cause a change of context where the user has not been advised before using the component;

               n.      Labels or instructions are not provided when content requires user input,

which include captcha prompts that require the user to verify that he or she is not a robot;

               o.      In content which is implemented by using markup languages, elements do

not have complete start and end tags, elements are not nested according to their specifications,

elements may contain duplicate attributes and/or any IDs are not unique;

               p.      Inaccessible Portable Document Format (PDFs); and

               q.      The name and role of all User Interface elements cannot be

programmatically determined; items that can be set by the user cannot be programmatically set;




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and/or notification of changes to these items is not available to user agents, including assistive

technology.

                                   STATEMENT OF FACTS

                       Defendant’s Barriers on Its Website

       27.     Defendant offers the commercial website, https://www.capitalmusicgear.com/, to

the public. Said website offers features which should allow all consumers to access the goods

and services offered by Defendant and which Defendant ensures delivery of such goods

throughout the United States including New York State. The goods and services offered by

Defendant include, but are not limited to, the following, which allow consumers to: purchase

audio products (musical instruments and audio equipment) and other products available online

and to ascertain information relating to pricing, shipping, ordering merchandise and return and

privacy policies on its website.

       28.     It is, upon information and belief, Defendant’s policy and practice to deny

Plaintiff, along with other blind or visually-impaired users, access to Defendant's Website, and to

therefore specifically deny the goods and services that are offered thereby. Due to Defendant’s

failure and refusal to remove access barriers to the Website, Plaintiff and visually-impaired

persons have been and are still being denied equal access to Defendant’s numerous goods,

services and benefits offered to the public through the Website.

       29.     Plaintiff is a visually-impaired and legally blind person, who cannot use a

computer without the assistance of screen-reading software. Plaintiff is, however, a proficient

JAWS screen-reader user and uses it to access the Internet. Plaintiff has visited the Website on

separate occasions using the JAWS screen-reader. Plaintiff is a prolific musician and has played

drums since age 4 and also teaches percussion to individuals and groups that include other



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similarly blind persons. He seeks to purchase audio products (musical instruments and audio

equipment) for his own musical interests as well as to help him in his teaching endeavors of

music.

         30.        During Plaintiff’s visits to the Website, the last occurring on December 21, 2022,

in an attempt to purchase drumsticks from Defendant, Plaintiff encountered multiple access

barriers that denied Plaintiff a shopping experience similar to that of a sighted person and full

and equal access to the goods and services offered to the public and made available to the public;

and that denied Plaintiff the full enjoyment of the goods, and services of the Website by being

unable to purchase drumsticks and other products available online and to ascertain information

relating to pricing, shipping, ordering merchandise and return and privacy policies on the

Website.

         31.        Plaintiff visited the Website in order to buy drumsticks and other related items.

Plaintiff attempted to purchase drumsticks and other related items but was unable to locate

pricing and was not able to add the item and/or items to the cart due to barriers on Defendant's

Website which prevented him from doing so. Plaintiff has previously purchased audio products

(musical instruments and audio equipment) on the internet and wanted to patronize Defendant

because Defendant claims that “Capital Music Gear LLC was formed in 2018 in Madison

Wisconsin with the sole purpose to improve the online shopping experience for musicians and

music enthusiasts.”7

         32.        Plaintiff has suffered and continues to suffer frustration and humiliation as a result

of the discriminatory conditions present on Defendant's Website. These discriminatory

conditions continue to contribute to Plaintiff's sense of isolation and segregation.



         7
             https://www.capitalmusicgear.com/ last accessed on December 21, 2022

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         33.     Plaintiff has been discriminated against by Defendant’s conduct and violations of

the statues and regulations set forth herein by being treated unequally from sighted persons due

Plaintiff’s disability and Plaintiff has suffered and continues to suffer injury as a result of

Defendant’s discriminatory practices.

         34.     Plaintiff intends to immediately revisit the Website to purchase drumsticks from

Defendant as soon as the access barriers are removed from the Website.

         35.     While attempting to navigate the Website, Plaintiff encountered multiple

accessibility barriers for blind or visually-impaired persons that include, but are not limited to,

the following:

                 a.     Lack of Alternative Text (“alt-text”), or a text equivalent. Alt-text is an

invisible code embedded beneath a graphical image on a website. Web accessibility requires that

alt-text be coded with each picture so that screen-reading software can speak the alt-text where a

sighted user sees pictures, which includes captcha prompts. Alt-text does not change the visual

presentation, but instead a text box shows when the keyboard moves over the picture. The lack of

alt-text on these graphics prevents screen readers from accurately vocalizing a description of the

graphics. As a result, Defendant’s visually-impaired customers are unable to determine what is

on the website, browse, or make any purchases;

                 b.     Empty Links That Contain No Text causing the function or purpose of the

link to not be presented to the user. They can introduce confusion for keyboard and screen-reader

users;

                 c.     Redundant Links where adjacent links go to the same URL address which

results in additional navigation and repetition for keyboard and screen-reader users; and




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                d.      Linked Images Missing Alt-text, which causes problems if an image

within a link contains no text, and that image does not provide alt-text. A screen reader then has

no content to present the user as to the function of the link, including information contained in

PDFs.

        36.     Many pages on the Website also contain the same title elements. This is a problem

for the visually-impaired because the screen reader fails to distinguish one page from another. In

order to fix this problem, Defendant must change the title elements for each page.

        37.     The Website also contained a host of broken links, which is a hyperlink to a

non-existent or empty webpage. For the visually-impaired this is especially paralyzing due to the

inability to navigate or otherwise determine where one is on the website once a broken link is

encountered. For example, upon coming across a link of interest, Plaintiff was redirected to an

error page. However, the screen-reader failed to communicate that the link was broken. As a

result, Plaintiff could not get back to his original search.

                        Defendant Must Remove Barriers To Its Website

        38.     Due to the inaccessibility of Defendant's Website, blind and visually-impaired

customers such as Plaintiff, who need screen-readers, cannot fully and equally use or enjoy the

goods, and services Defendant offers to the public on the Website. The access barriers Plaintiff

encountered have caused a denial of Plaintiff’s full and equal access in the past, and now deter

Plaintiff on a regular basis from accessing the Website.

        39.     These access barriers on Defendant's Website have deterred Plaintiff from visiting

Defendant's Website and enjoying it equal to sighted individuals because: Plaintiff was unable to

use and enjoy the Website in the same manner as sighted individuals do, preventing Plaintiff

from using the Website to purchase items and to view the items.



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       40.     If the Website was equally accessible to all, Plaintiff could independently navigate

the Website and complete a desired transaction as sighted individuals do.

       41.     Through his attempts to use the Website, Plaintiff has actual knowledge of the

access barriers that make these services inaccessible and independently unusable by blind and

visually-impaired persons.

       42.     Because simple compliance with the WCAG 2.0 Guidelines would provide

Plaintiff and other visually-impaired consumers with equal access to the Website, Plaintiff

alleges that Defendant has engaged in acts of intentional discrimination, including but not limited

to the following policies or practices:

               a.      Constructing and maintaining a website that is inaccessible to

visually-impaired individuals, including Plaintiff;

               b.      Failure to construct and maintain a website that is not sufficiently intuitive

so as to be equally accessible to visually-impaired individuals, including Plaintiff; and

               c.      Failing to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind and visually-impaired consumers, such as Plaintiff,

as a member of a protected class.

       43.     Defendant therefore uses standards, criteria or methods of administration that

have the effect of discriminating or perpetuating the discrimination of others, as alleged herein.

       44.     The ADA expressly contemplates the injunctive relief that Plaintiff seeks in this

action. In relevant part, the ADA requires:

       In the case of violations of . . . this title, injunctive relief shall include an order to alter
       facilities to make such facilities readily accessible to and usable by individuals with
       disabilities . . . Where appropriate, injunctive relief shall also include requiring the . . .
       modification of a policy . . .

42 U.S.C. § 12188(a)(2).

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       45.      Because Defendant's Website is not and has never been fully accessible, and

because, upon information and belief, Defendant does not have, and has never had, adequate

corporate policies that are reasonably calculated to cause the Website to become and remain

accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2) and seek a permanent injunction requiring

Defendant to:

       a) Retain a qualified consultant acceptable to Plaintiff (“Web Accessibility Consultant”)
       who shall assist in improving the accessibility of the Website, including all third-party
       content and plug-ins, so the goods and services on the Website may be equally accessed
       and enjoyed by visually-impaired persons;

       b) Work with the Web Accessibility Consultant to ensure all employees involved in
       Website and content development be given web accessibility training on a biennial basis,
       including onsite training to create accessible content at the design and development
       stages;

       c) Work with the Web Accessibility Consultant to perform an automated accessibility
       audit on a periodic basis to evaluate whether Defendant's Website may be equally
       accessed and enjoyed by visually-impaired persons on an ongoing basis;

       d) Work with the Web Accessibility Consultant to perform end-user accessibility/usability
       testing on at least a quarterly basis with said testing to be performed by humans who are
       blind or have low vision, or who have training and experience in the manner in which
       persons who are blind use a screen reader to navigate, browse, and conduct business on
       websites, in addition to the testing, if applicable, that is performed using semi-automated
       tools;

       e) Incorporate all of the Web Accessibility Consultant’s recommendations within sixty
       (60) days of receiving the recommendations;

       f) Work with the Web Accessibility Consultant to create a Web Accessibility Policy that
       will be posted on the Website, along with an e-mail address, instant messenger, and
       toll-free phone number to report accessibility-related problems;

       g) Directly link from the footer on each page of the Website, a statement that indicates
       that Defendant is making efforts to maintain and increase the accessibility of the Website
       to ensure that visually-impaired persons have full and equal enjoyment of the goods,
       services, facilities, privileges, advantages, and accommodations of Defendant's Website;

       h) Accompany the public policy statement with an accessible means of submitting
       accessibility questions and problems, including an accessible form to submit feedback or

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       an email address to contact representatives knowledgeable about the Web Accessibility
       Policy;

       i) Provide a notice, prominently and directly linked from the footer on each page of the
       Website, soliciting feedback from visitors to the Website on how the accessibility of the
       Website can be improved. The link shall provide a method to provide feedback, including
       an accessible form to submit feedback or an email address to contact representatives
       knowledgeable about the Web Accessibility Policy;

       j) Provide a copy of the Web Accessibility Policy to all web content personnel,
       contractors responsible for web content, and Client Service Operations call center agents
       (“CSO Personnel”) for the Website;

       k) Train no fewer than three of its CSO Personnel to automatically escalate calls from
       users with disabilities who encounter difficulties using the Website. Defendant shall have
       trained no fewer than 3 of its CSO personnel to timely assist such users with disabilities
       within CSO published hours of operation. Defendant shall establish procedures for
       promptly directing requests for assistance to such personnel including notifying the
       public that customer assistance is available to users with disabilities and describing the
       process to obtain that assistance;

       l) Modify existing bug fix policies, practices, and procedures to include the elimination of
       bugs that cause the Website to be inaccessible to users of screen reader technology; and

       m) Plaintiff, his counsel, and their experts monitor the Website for up to two years after
       the Mutually Agreed Upon Consultant validates the Website are free of accessibility
       errors/violations to ensure Defendant has adopted and implemented adequate
       accessibility policies. To this end, Plaintiff, through his counsel and their experts, shall be
       entitled to consult with the Web Accessibility Consultant at their discretion, and to review
       any written material, including but not limited to any recommendations the Website
       Accessibility Consultant provides Defendant.

       46.    Web-based technologies have features and content that are modified on a daily,

and in some instances an hourly, basis, and a one time “fix” to an inaccessible website will not

cause the website to remain accessible without a corresponding change in corporate policies

related to those web-based technologies. To evaluate whether an inaccessible website has been

rendered accessible, and whether corporate policies related to web-based technologies have been

changed in a meaningful manner that will cause the website to remain accessible, the website




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must be reviewed on a periodic basis using both automated accessibility screening tools and end

user testing by visually-impaired persons.

       47.     If the Website was accessible, Plaintiff and similarly situated blind and

visually-impaired persons could independently shop for and otherwise research Defendant’s

products via the Website.

       48.     Although Defendant may currently have centralized policies regarding

maintaining and operating the Website, Defendant lacks a plan and policy reasonably calculated

to make them fully and equally accessible to, and independently usable by, blind and other

visually-impaired consumers.

       49.     Defendant has, upon information and belief, invested substantial sums in

developing and maintaining their Website and has generated significant revenue from the

Website. These amounts are far greater than the associated cost of making the Website equally

accessible to visually-impaired consumers.

       50.     Without injunctive relief, Plaintiff and other visually-impaired consumers will

continue to be unable to independently use the Website, violating their rights.

                            CLASS ACTION ALLEGATIONS

       51.     Plaintiff, on behalf of himself and all others similarly situated, seeks to certify a

nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind individuals in the

United States who have attempted to access Defendant's Website and as a result have been

denied access to the equal enjoyment of goods and services offered by Defendant's Website,

during the relevant statutory period.

       52.     Plaintiff, on behalf of himself and all others similarly situated, seeks to certify a

New York State Sub-Class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind individuals



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in the State of New York who have attempted to access Defendant's Website and as a result have

been denied access to the equal enjoyment of goods and services offered by Defendant's Website,

during the relevant statutory period.

       53.     Plaintiff, on behalf of himself and all others similarly situated, seeks to certify a

New York City Sub-Class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind individuals

in the City of New York who have attempted to access Defendant's Website and as a result have

been denied access to the equal enjoyment of goods and services offered by Defendant's Website,

during the relevant statutory period.

       54.     Common questions of law and fact exist amongst the Class and Sub-Classes,

including:

               a.      Whether Defendant's Website is a “public accommodation” under the

ADA;

               b.      Whether Defendant's Website is a “place or provider of public

accommodation” under the NYSHRL or NYCHRL;

               c.      Whether Defendant's Website denies the full and equal enjoyment of its

goods, services, facilities, privileges, advantages, or accommodations to visually-impaired

persons, violating the ADA;

               d.      Whether Defendant's Website denies the full and equal enjoyment of its

goods, services, facilities, privileges, advantages, or accommodations to visually-impaired

persons, violating the NYSHRL or NYCHRL; and

               e.      Whether     Defendant's     Website   and    the   unequal    treatment   of

visually-impaired persons constitutes unlawful discrimination.




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       55.     Plaintiff’s claims are typical of the Class and Sub-Classes. The Class, and

Sub-Classes, similarly to Plaintiff, are severely visually-impaired or otherwise blind persons, and

claim that Defendant has violated the ADA, NYSHRL or NYCHRL by failing to update or

remove access barriers on the Website so it can be independently accessible to the Class and/or

the Sub-Classes.

       56.     Plaintiff will fairly and adequately represent and protect the interests of the Class

Members because Plaintiff has retained and is represented by counsel competent and experienced

in complex class action litigation, including ADA litigation and because Plaintiff has no interests

antagonistic to the Class Members. Class certification of the claims is appropriate under Fed. R.

Civ. P. 23(b)(2) because Defendant has acted or refused to act on grounds generally applicable to

the Class, making appropriate b declaratory and injunctive relief with respect to Plaintiff and the

Class as a whole.

       57.     Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3)

because fact and legal questions are common to Class Members predominate over questions

affecting only individual Class Members, and because a class action is superior to other available

methods for the fair and efficient adjudication of their litigation.

       58.     Judicial economy will be served by maintaining this lawsuit as a class action in

that it is likely to avoid the burden that would be otherwise placed upon the judicial system by

the filing of numerous similar suits by visually-impaired persons throughout the United States.

                          FIRST CAUSE OF ACTION
                 VIOLATIONS OF THE ADA, 42 U.S.C. § 12181 et seq.

       59.      Plaintiff, on behalf of himself and the Class Members, repeats and realleges every

allegation of the preceding paragraphs as if fully set forth herein.

       60.     Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides:

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       No individual shall be discriminated against on the basis of disability in the full and equal
       enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of
       any place of public accommodation by any person who owns, leases (or leases to), or
       operates a place of public accommodation.

42 U.S.C. § 12182(a).


       61.     Defendant’s online retail store is a place of public accommodation within the

definition of Title III of the ADA, 42 U.S.C. § 12181(7). Defendant's Website is a service,

privilege, or advantage of Defendant’s online retail store.

       62.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to

deny individuals with disabilities the opportunity to participate in or benefit from the goods,

services, facilities, privileges, advantages, or accommodations of an entity. 42 U.S.C. §

12182(b)(1)(A)(i).

       63.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to

deny individuals with disabilities an opportunity to participate in or benefit from the goods,

services, facilities, privileges, advantages, or accommodation, which is equal to the opportunities

afforded to other individuals. 42 U.S.C. § 12182(b)(1)(A)(ii).

       64.     Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also

includes, among other things:

[A] failure to make reasonable modifications in policies, practices, or procedures, when such
       modifications are necessary to afford such goods, services, facilities, privileges,
       advantages, or accommodations to individuals with disabilities, unless the entity can
       demonstrate that making such modifications would fundamentally alter the nature of such
       goods, services, facilities, privileges, advantages or accommodations; and a failure to
       take such steps as may be necessary to ensure that no individual with a disability is
       excluded, denied services, segregated or otherwise treated differently than other
       individuals because of the absence of auxiliary aids and services, unless the entity can
       demonstrate that taking such steps would fundamentally alter the nature of the good,
       service, facility, privilege, advantage, or accommodation being offered or would result in
       an undue burden.



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42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

               65.      The acts alleged herein constitute violations of Title III of the ADA, and the

       regulations promulgated thereunder. Plaintiff, who is a member of a protected class of persons

       under the ADA, has a physical disability that substantially limits the major life activity of sight

       within the meaning of 42 U.S.C. §§ 12102(1)(A)-(2)(A). Furthermore, Plaintiff has been denied

       full and equal access to the Website, has not been provided services that are provided to other

       patrons who are not disabled, and has been provided services that are inferior to the services

       provided to non-disabled persons. Defendant has failed to take any prompt and equitable steps to

       remedy its discriminatory conduct. These violations are ongoing.

               66.      Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth and

       incorporated therein, Plaintiff, requests relief as set forth below.

                                     SECOND CAUSE OF ACTION
                                    VIOLATIONS OF THE NYSHRL

               67.      Plaintiff, on behalf of himself and the New York State Sub-Class Members,

       repeats and realleges every allegation of the preceding paragraphs as if fully set forth herein.

               68.      N.Y. Exec. Law § 296(2)(a) provides that it is “an unlawful discriminatory

       practice for any person, being the owner, lessee, proprietor, manager, superintendent, agent or

       employee of any place of public accommodation . . . because of the . . . disability of any person,

       directly or indirectly, to refuse, withhold from or deny to such person any of the

       accommodations, advantages, facilities or privileges thereof.”

               69.      Defendant's Website operates in the State of New York and constitutes an online

       sales establishment and a place of public accommodation within the definition of N.Y. Exec. Law

       § 292(9). Defendant's Website is a service, privilege or advantage of Defendant’s online retail

       establishment.

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       70.     Defendant is subject to New York Human Rights Law because it owns and/or

operates the Website in the State of New York. Defendant is a person within the meaning of N.Y.

Exec. Law § 292(1).

       71.     Defendant is violating N.Y. Exec. Law § 296(2)(a) in refusing to update or

remove access barriers to the Website, causing the Website and the services integrated therewith

to be completely inaccessible to the blind. Their inaccessibility denies blind patrons full and

equal access to the facilities, goods and services that Defendant makes available to the

non-disabled public.

       72.     Under N.Y. Exec. Law § 296(2)(c)(i), unlawful discriminatory practice includes,

among other things, “a refusal to make reasonable modifications in policies, practices, or

procedures, when such modifications are necessary to afford facilities, privileges, advantages or

accommodations to individuals with disabilities, unless such person can demonstrate that making

such modifications would fundamentally alter the nature of such facilities, privileges, advantages

or accommodations being offered or would result in an undue burden".

       73.     Under N.Y. Exec. Law § 296(2)(c)(ii), unlawful discriminatory practice also

includes, “a refusal to take such steps as may be necessary to ensure that no individual with a

disability is excluded or denied services because of the absence of auxiliary aids and services,

unless such person can demonstrate that taking such steps would fundamentally alter the nature

of the facility, privilege, advantage or accommodation being offered or would result in an undue

burden.”

       74.     Readily available, well-established guidelines exist on the Internet for making

websites accessible to the blind and visually-impaired. These guidelines have been followed by

other large business entities and government agencies in making their website accessible,



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including but not limited to: adding alt-text to graphics and ensuring that all functions can be

performed using a keyboard. Incorporating the basic components to make the Website accessible

would neither fundamentally alter the nature of Defendant’s business nor result in an undue

burden to Defendant.

       75.     Defendant’s actions constitute willful intentional discrimination against the class

on the basis of a disability in violation of the NYSHRL, N.Y. Exec. Law § 296(2) in that

Defendant has:

               a.      constructed and maintained a website that is inaccessible to blind class

members with knowledge of the discrimination; and/or

               b.      constructed and maintained a website that is not sufficiently intuitive

and/or obvious that it is inaccessible to blind class members; and/or

               c.      failed to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind class members.

       76.     Defendant has failed to take any prompt and equitable steps to remedy their

discriminatory conduct. These violations are ongoing.

       77.     Defendant discriminates, and will continue in the future to discriminate, against

Plaintiff and New York State Sub-Class Members on the basis of disability in the full and equal

enjoyment of the goods, services, facilities, privileges, advantages, accommodations and/or

opportunities of Defendant's Website under § 296(2) et seq. and/or its implementing regulations.

Unless the Court enjoins Defendant from continuing to engage in these unlawful practices,

Plaintiff and the Sub-Class Members will continue to suffer irreparable harm.

       78.     Defendant’s actions were and are in violation of New York State Human Rights

Law and therefore Plaintiff invokes his right to injunctive relief to remedy the discrimination.



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       79.     Plaintiff is also entitled to compensatory damages, as well as civil penalties and

fines under N.Y. Exec. Law § 297(4)(c) et seq. for each and every offense.

       80.     Plaintiff is also entitled to reasonable attorneys’ fees and costs.

       81.     Under N.Y. Exec. Law § 297 and the remedies, procedures and rights set forth and

incorporated therein Plaintiff prays for judgment as set forth below.

                              THIRD CAUSE OF ACTION
                            VIOLATIONS OF THE NYCHRL

       82.     Plaintiff, on behalf of himself and the New York City Sub-Class Members, repeats

and realleges every allegation of the preceding paragraphs as if fully set forth herein.

       83.     N.Y.C. Administrative Code § 8-107(4)(a) provides that “It shall be an unlawful

discriminatory practice for any person, being the owner, lessee, proprietor, manager,

superintendent, agent or employee of any place or provider of public accommodation, because of

. . . disability . . . directly or indirectly, to refuse, withhold from or deny to such person, any of

the accommodations, advantages, facilities or privileges thereof.”

       84.     Defendant's Website is an online sales establishment and a place of public

accommodation within the definition of N.Y.C. Admin. Code § 8-102(9), and the Website is a

service that is integrated with its online sales establishment.

       85.     Defendant is subject to NYCHRL because it owns and/or operates the Website in

the City of New York, making it a person within the meaning of N.Y.C. Admin. Code § 8-102(1).

       86.     Defendant is violating N.Y.C. Administrative Code § 8-107(4)(a) in refusing to

update or remove access barriers to Website, causing the Website and the services integrated

therewith to be completely inaccessible to the blind. The inaccessibility denies blind consumers

full and equal access to the facilities, goods, and services that Defendant makes available to the

non-disabled public.

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       87.     Defendant is required to “make reasonable accommodation to the needs of

persons with disabilities . . . any person prohibited by the provisions of [§ 8-107 et seq.] from

discriminating on the basis of disability shall make reasonable accommodation to enable a

person with a disability to . . . enjoy the right or rights in question provided that the disability is

known or should have been known by the covered entity.” N.Y.C. Admin. Code § 8-107(15)(a).

       88.     Defendant’s actions constitute willful intentional discrimination against the

Sub-Class on the basis of a disability in violation of the N.Y.C. Administrative Code §

8-107(4)(a) and § 8-107(15)(a) in that Defendant has:

               a.      constructed and maintained a website that is inaccessible to blind class

members with knowledge of the discrimination; and/or

               b.      constructed and maintained a website that is not sufficiently intuitive

and/or obvious that it is inaccessible to blind class members; and/or

               c.      failed to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind class members.

       89.     Defendant has failed to take any prompt and equitable steps to remedy their

discriminatory conduct. These violations are ongoing.

       90.     As such, Defendant discriminates, and will continue in the future to discriminate,

against Plaintiff and members of the proposed class and Sub-Class on the basis of disability in

the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

accommodations and/or opportunities of the Website under § 8-107(4)(a) and/or its

implementing regulations. Unless the Court enjoins Defendant from continuing to engage in

these unlawful practices, Plaintiff and members of the Sub-Class will continue to suffer

irreparable harm.



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         91.    Defendant’s actions were and are in violation of the NYCHRL and therefore

Plaintiff invokes his right to injunctive relief to remedy the discrimination.

         92.    Plaintiff is also entitled to compensatory damages, as well as civil penalties and

fines under N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) for each offense as well as

punitive damages pursuant to § 8-502.

         93.    Plaintiff is also entitled to reasonable attorneys’ fees and costs.

         94.    Under N.Y.C. Administrative Code § 8-120 and § 8-126 and the remedies,

procedures and rights set forth and incorporated therein Plaintiff prays for judgment as set forth

below.

                              FOURTH CAUSE OF ACTION
                                DECLARATORY RELIEF

         95.    Plaintiff, on behalf of himself and the Class and New York State and City

Sub-Classes Members, repeats and realleges every allegation of the preceding paragraphs as if

fully set forth herein.

         96.    An actual controversy has arisen and now exists between the parties in that

Plaintiff contends, and is informed and believes that Defendant denies, that the Website contains

access barriers denying blind customers the full and equal access to the goods and services of the

Website, which Defendant owns, operates and controls, fails to comply with applicable laws

including, but not limited to, Title III of the Americans with Disabilities Act, 42 U.S.C. §§

12182, et seq., N.Y. Exec. Law § 296, et seq., and N.Y.C. Admin. Code § 8-107, et seq.

prohibiting discrimination against the blind.

         97.    A judicial declaration is necessary and appropriate at this time in order that each

of the parties may know their respective rights and duties and act accordingly.




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                                    PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests the Court grant the following relief:

               a.     A preliminary and permanent injunction to prohibit Defendant from

violating the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law §

296, et seq., N.Y.C. Administrative Code § 8-107, et seq., and the laws of New York;

               b.     A preliminary and permanent injunction requiring Defendant to take all

the steps necessary to make the Website into full compliance with the requirements set forth in

the ADA, and its implementing regulations, so that the Website is readily accessible to and

usable by blind individuals;

               c.     A declaration that Defendant owns, maintains and/or operates the Website

in a manner that discriminates against the blind and which fails to provide access for persons

with disabilities as required by Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq.,

N.Y. Exec. Law § 296, et seq., N.Y.C. Administrative Code § 8-107, et seq., and the laws of New

York;

               d.     An order certifying the Class and Sub-Classes under Fed. R. Civ. P. 23(a)

& (b)(2) and/or (b)(3), appointing Plaintiff as Class Representative, and his attorneys as Class

Counsel;

               e.     Compensatory damages in an amount to be determined by proof, including

all applicable statutory and punitive damages and fines, to Plaintiff and the proposed class and

Sub-Classes for violations of their civil rights under New York State Human Rights Law and

City Law;

               f.     Pre- and post-judgment interest;

               g.     An award of costs and expenses of the action;



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               h.       Reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR §

36.505, including costs of monitoring Defendant’s compliance with the judgment (see

Gniewkowski v. Lettuce Entertain You Enterprises, Inc., Case No. 2:16-cv-01898-AJS (W.D. Pa.

Jan. 11, 2018) (ECF 191) (“Plaintiffs, as the prevailing party, may file a fee petition before the

Court surrenders jurisdiction. See also, Pennsylvania v. Delaware Valley Citizens’ Council for

Clean Air, 478 U.S. 546, 559 (1986), supplemented, 483 U.S. 711 (1987); see also Access Now,

Inc. v. Lax World, LLC, No. 1:17-cv-10976-DJC (D. Mass. Apr. 17, 2018) (ECF 11); and

               i.       Such other and further relief as this Court deems just and proper.

                                DEMAND FOR TRIAL BY JURY

       Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury on all questions of fact

the Complaint raises.

Dated: New York, New York
       January 30, 2023
                                                                   GOTTLIEB & ASSOCIATES

                                                                      /s/ Michael A. LaBollita, Esq.

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